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              Exhibit D
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA
ANGEL SULLIVAN-BLAKE and HORACE
CLAIBORNE, on behalf of themselves and
all others similarly situated,
                          Plaintiffs,
                                                  Civil Action
         vs.
                                                  No. 18-1698
FEDEX GROUND PACKAGE SYSTEM, INC.
                     Defendant.
___________________________________

     Transcript of TELEPHONE CONFERENCE proceedings recorded
on February 10, 2022, in the United States District Court,
Pittsburgh, Pennsylvania, before The Hon. Robert J. Colville,
United States District Judge
APPEARANCES:
For the Plaintiffs:                Shannon Liss-Riordan, Esq.
                                   Zachary L. Rubin, Esq.
                                   Michelle Tolodziecki, Esq.
                                   Harold Lichten, Esq.
For the Defendant:                 Jessica Goneau Scott, Esq.
                                   Brian Ruocco, Esq.
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                                   Joseph P. McHugh, Esq.
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Proceedings recorded by mechanical stenography; transcript
produced by computer-aided transcription
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1    system to get you more responses and faster responses.
2                Obviously, that's not the case. So I think at this
3    point the burden needs to shift to Plaintiffs to come up with
4    some sort of workable plan as to how long this is going to
5    take, what they propose to actually do it; and the response
6    that Ms. Liss-Riordan gave last time, which was, well, you're
7    just never going to get that many, you know. We'll do our
8    best to get you to 500, but otherwise, that's all we can
9    promise.
10               That's not the answer, and that's not what the
11   Court ordered. So, Your Honor --
12               THE COURT: Ms. Liss-Riordan, I'm assuming that's
13   you chiming in. If you want to respond to that, you're
14   welcome.
15               MS. LISS-RIORDAN: Yes. Thank you, Your Honor. I
16   think the conversation we had before, and our response is the
17   same as it has been all along, is we are doing our best to
18   get as many as we can. My reading of Your Honor's Orders
19   were that you ordered discovery on this large number, I think
20   recognizing we weren't going to get all of them, but that we
21   would get to a point where there would be a big enough
22   sampling so that FedEx could make whatever arguments it wants
23   to make, including the argument it's going to make that the
24   results are skewed.
25               I mean the truth of it is is that when you have
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1    these cases, yes, a lot of people don't want to participate.
2    It's hard to get them to participate. It doesn't mean they
3    don't have a claim. It means that they have lives that
4    they're focused on, and it's just hard to get them to focus
5    on something else, but we are doing our best.
6                My records show that out of the initial 500, we
7    have produced to FedEx questionnaires and discovery responses
8    for 263 of them. So more than a 50 percent response rate,
9    which we actually think is pretty good for this size of a
10   process we've been tackling.
11               Apparently FedEx is not satisfied that these are
12   all complete, and that's why Ms. Scott gave a lower number,
13   but we see that we've gotten more than 50 percent in and are
14   well on our way with the 1,150 we've been in contact with and
15   are working on responses for, let me see, another 260
16   approximately, but we're continuing to reach out and work on
17   them.
18               So we do still think the schedule that we've spoken
19   about before makes sense. In June is what we're planning.
20   We think by June we'll be able to get what we can get, and we
21   should move on from there.
22               If FedEx wants to give us more people to reach out
23   to, we can do that. I mean one suggestion that I have just
24   listening to what Ms. Scott just said is she's been saying
25   that it's just very burdensome for them to send out these
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1    requests because they have to dig up all this information on
2    people in order to do it.
3                I mean it might be a little easier then if they
4    just send us lists of names, and we can reach out and try to
5    make contact with these folks, and we can let them know the
6    folks who we think are being responsive and we expect we can
7    fill these out for before they go through all the trouble of
8    pulling all the information. That's just one possibility
9    that might make it easier for them based on what she's
10   saying.
11               But anyway, I think, you know, by the end -- we're
12   well on our way to having well more than 500. I expect by
13   June we should hopefully have well more than that.
14               Like I said, we think that this should be a two-way
15   street here, and FedEx should be also producing information
16   that we have requested for these people who are responding to
17   discovery as well as the additional thousands who we've
18   asked -- who we've put forward as our potential witness pool
19   that FedEx is providing -- or has been ordered to provide the
20   gross vehicle weight information for.
21               So, yeah, if we were going to wait to get absolute
22   complete responses from 1,650 people, yes, I think that will
23   take years. And I don't think perfection is ever sought or
24   obtainable in this kind of situation. I think what the Court
25   needs is a broad enough record of evidence to make the
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1    plan to do that. I think that's going to be required. Now,
2    how many and how you go about selecting that, again, I'm
3    going to defer to your collective judgment until and unless
4    you can reach an agreement, but I think that's almost
5    certainly going to happen. Again, I'll entertain argument if
6    need be.
7                But here's the thing. Whether we go past June or
8    not and whether it's 1,650 or something close to it or
9    something not so close to it, am I wrong about something
10   that's sort of fundamental? At the end of the day, whatever
11   the number is, the fair number of Plaintiffs from whom we
12   should get adequate written discovery, and let me also point
13   out, again, there's a difference between complete responses
14   and partial responses, and again, we're going to have to look
15   at whether the partial responses are adequate enough in some
16   measure or not to, number one, survive a motion to dismiss,
17   and, number two, be treated as an adequate response at least
18   as to the question of whether we have 1,650 responses or not
19   or whatever appropriate number.
20               That's a judgment we'll have to make as well. But
21   at the end of the day both parties need to, maybe not want
22   to, but you need to get to the certification or
23   decertification stage here.
24               I assume neither of you want to spend the next ten
25   years doing it. And I'm assuming -- I can assure you that's
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1    not going to happen. But you're going to spend more than the
2    next six months doing it I think, unless you can reach some
3    agreement.
4                Now, if you're able to reach an agreement, then
5    look, 1,650 isn't necessary, but a thousand might do it, or
6    750 might do it, or 1,250 might do it, and here's how we're
7    going to proceed, and this is the schedule that we think we
8    can get it done. And maybe it's not June, but it's January,
9    or maybe it's next May. And again, I don't like the idea of
10   thinking about next May, but I'm not sure what to tell you.
11   This is going to take time.
12               But the bottom line is -- again, I don't see either
13   of you seeing a way out of this case before we get to a
14   certification or decertification.
15               And Ms. Liss-Riordan, if, at the end of this first
16   round, we have a 50 percent return rate and, of those, a
17   third of those are only partial returns, I can -- I'll
18   entertain your argument, but I'm pretty sure we're going to
19   have another round of discovery. And I imagine you
20   understand why.
21               That said, Ms. Scott, again, pick your poison. You
22   don't want to go to the effort and time to issue these
23   written discovery requests, but okay, then maybe you don't
24   need 1,650. How many do you need? And what bottom line do
25   you need to get your decertification motion in a position
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1    we know what we get by June.
2                Again, I'm not -- if things continue as they've
3    been pressing now, I think it's obvious you're not going to
4    get even halfway there, at least arguably. We'll maybe have
5    to have a discussion about the partial responses.
6                But I'm not sure what to tell you other than I
7    think you can expect that we may need to do additional rounds
8    unless you can reach an agreement that, hey, it is what it
9    is. And there's enough here to sort of show what you think
10   is obvious and needs to be shown. You can make the arguments
11   that you need to make regarding certification.
12               Beyond that, I think we have a number of small
13   motions, and I don't want to tackle -- Ms. Liss-Riordan, I
14   appreciate your interest in addressing other issues, and if
15   you want to mention them, just put them on the radar, I'm
16   okay with that. But I'm not going to be ruling on anything I
17   can assure you. But I don't want to engage in a deep dive
18   into anything if there's any disagreement regarding whether
19   it's been fully conferred upon or conferred regarding
20   previously.
21               MS. LISS-RIORDAN: Your Honor, I really apologize,
22   but I have another meeting. I'm really hoping that we can
23   wrap this up. But I just did want to seek clarification on
24   the discovery issues. We have -- I think you had asked us
25   before to notify you informally so that we could have an
